            Case 8:16-bk-15159-ES                            Doc 23 Filed 04/16/17 Entered 04/16/17 18:10:10                      Desc
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                                                              United States Bankruptcy Court
                                                                      Central District of California
            Michael David Petronella
 In re      Nicole Raye Petronella                                                                          Case No.    8:16-bk-15159-ES
                                                                                   Debtor(s)                Chapter     7


                                                                     Notice of Change of Address

Debtor's Social Security Number:                                        xxx-xx-1833

Joint Debtor's Social Security Number: xxx-xx-1900

My (Our) Former Mailing Address and Telephone Number was:

 Name:                                Michael David Petronella and Nicole Raye Petronella

 Street:                              5293 Lupine St.

 City, State and Zip:                 Orange, CA 92866

 Telephone #:                         714-206-0258

Please be advised that effective April 16    , 20 17 ,
my (our) new mailing address and telephone number is:

 Name:                                Michael David Petronella and Nicole Raye Petronella
                                        9415 Panther Creek Parkway #1215


 Street:
                                        Frisco TX 75035
 City, State and Zip:

 Telephone #:




                                                                                         /s/ Michael David Petronella
                                                                                         Michael David Petronella
                                                                                         Debtor

                                                                                         /s/ Nicole Raye Petronella
                                                                                         Nicole Raye Petronella
                                                                                         Joint Debtor




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